Case 2:05-cr-20139-.]PI\/| Document 13 Filed 05/24/05 Page 1 of 2 Page|D 18

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WESTERN DISTRICT oF TENNESSEE _ w `_
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UNITED sTATEs oF AMERICA `-’i-f- 13 us itt :».irl-iti'ir~i?i»§i_
-vs- Case No. 2:05cr20139-Ml
sYLvEsTER CRAWFORD

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING' PURSUANT TO
BAIL REFORM ACT

Upon motion of the Defendant, it is ORDERED that a detention hearing is re-set for
WEDNESDAY, MAY 25, 2005 at 3:15 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, Ninth Floor, United States Courthouse and Federal Building, 167
North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing,

Date: May 24, 2005 n t /{ W /( @MQWI.

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

'If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant. 18 U.S.C. § 3142(D(2).

A hearing is required whenever the conditions set forth in t 8 U.S.C. § 3142(f) are present Subsecti on (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial offi cer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justi ce, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8!85) Order ofTemporary Detention . .
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UNITED sTATE DISTRIC COURT - WESERNT D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number l3 in
case 2:05-CR-20139 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listedl

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

